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                                                                      The Honorable David G. Estudillo
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 4
                                UNITED STATES DISTRICT COURT
 5                             WESTERN DISTRICT OF WASHINGTON
                                         AT TACOMA
 6

 7
     DAMARIO RASHEED STERLING,                       No. 3:22-cv-05250 DGE
 8   DAVID SHERWOOD JOHNSON,
     ELIZABETH ECKLUND, ROBERT                       PLAINTIFFS’ OPPOSITION TO
 9   ERICKSON, LAUREN COLAS,
     ALEXANDER JUAREZ, and LORI                      DEFENDANT’S MOTION TO DISMISS
10   ALEXANDER, on behalf of themselves
     and all others similarly situated,              Note on Motion Calendar: July 22, 2022
11
     Plaintiffs,
12

13                       vs.

14   CAMI L. FEEK, Commissioner,
     Washington State Employment Security
15   Department, in her individual capacity, and
     in her official capacity,
16
     Defendant.
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 1                                       I.         INTRODUCTION

 2          Defendant’s assertions in the Motion to Dismiss are breathtaking in their extremity: she

 3   argues the government may seize property, without pre-deprivation notice or a hearing, and so

 4   long as there is a post-deprivation forum to appeal the deprivation, no constitutional harm occurs

 5   and victims may not subsequently challenge Defendant’s unconstitutional conduct in court.

 6   Defendant is simply wrong. The law is abundantly clear that a constitutional harm giving rise to

 7   a claim for damages occurs when the government interferes with a property right without due

 8   process even if the plaintiff later recovers their property.

 9          Defendant oversaw and required the usage of a computer program she knew was flawed

10   that deprived unemployed individuals of benefits that were rightfully theirs. Defendant knew the

11   UTAB software erroneously targeted unemployment claimants to “redetermine” their eligibility

12   for benefits, and demanded these individuals repay benefits already received. She knew it auto-

13   generated confusing notices that failed to apprise individuals of their rights—notices that

14   Administrative Law Judges (“ALJs”) of the Office of Administrative Hearings (“OAH”) have

15   repeatedly found to be unconstitutional. Many individuals receiving such notices failed to appeal

16   or repaid benefits to which they were entitled. Others, including at least one named Plaintiff, had

17   benefits seized during the appellate process. Rather than stop her illegal conduct, Defendant

18   instead relies on the victims of this unconstitutional scheme to “catch” her errors in the appellate

19   process. But Defendant is required by law to honor the civil rights of unemployment claimants.

20          This Court should deny Defendant’s motion to dismiss and find that Plaintiffs have alleged

21   sufficient facts in the Amended Complaint to state a claim on which relief can be granted under

22   42 U.S.C. § 1983 for deprivation of the constitutional right to due process and for violating 42

23   U.S.C. § 503. To the extent this Court finds any deficiencies in Plaintiffs’ allegations, the Court

24   should grant leave to amend the operative complaint to address the deficiencies and ensure

25   Plaintiffs and thousands of other individuals who faced unconstitutional deprivations of their

26   unemployment rights receive access to justice.

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 1                         II.     FACTUAL AND LEGAL BACKGROUND

 2          The Employment Security Department (“ESD”) deemed all Plaintiffs eligible for

 3   unemployment benefits. Dkt. #14 at ¶¶53, 62, 70-71, 79, 84-85, 88, 92. As a result, they had a

 4   vested property right in those benefits. See Goldberg v. Kelly, 397 U.S. 254, 262 (1970). Then,

 5   after allowing benefits to the Plaintiffs based on their eligibility, ESD, without notice,

 6   “redetermined” each Plaintiff’s eligibility, declared them ineligible to receive certain past

 7   benefits, and assessed Plaintiffs for overpayments. Dkt. #14 at ¶¶1, 55, 66, 75, 80, 85, 88, 92. This

 8   action, performed automatically and repeatedly using a software program, deprived each Plaintiff

 9   of constitutionally protected property interests without a pre-deprivation hearing—often after the

10   limited thirty-day period ESD has under RCW 50.20.160(3) to redetermine eligibility in the

11   absence of fraud, misrepresentation, or non-disclosure. Id. at ¶¶1-2, 31, 36-37, 41-42, 47, 52-96.

12   A.     The Department utilizes an automated computer program to redetermine eligibility
            and assess overpayments.
13          To facilitate its unemployment program, in 2018, ESD created the Unemployment Tax
14   and Benefits System (“UTAB”). Dkt. #14 at ¶41. UTAB is an automated computer program that
15   stores data on claims, claimants, employers, and other information for managing and paying
16   benefits. Id. ESD policies and practices require staff to use form correspondence generated
17   through UTAB for communication with claimants. Id.
18          After an eligibility determination, ESD is entitled to redetermine eligibility and recoup
19   overpaid benefits; however, eligibility redeterminations may occur only under narrow
20   circumstances. Dkt. #14 at ¶31. Overpayments occur when a claimant was paid unemployment
21   benefits in excess of the benefits they were entitled to receive. Id. at ¶33. In the absence of fraud,
22   misrepresentation, or nondisclosure, ESD has only thirty days to redetermine eligibility for
23   previous benefit payments. Id. at ¶31. Yet without regard to that requirement, ESD uses UTAB
24   to make automatic redeterminations of claimant eligibility and automatic issuance of
25   overpayment assessments. Id. at ¶42.
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 1          UTAB has several built-in defects that routinely lead to the deprivation of claimants’

 2   rights to benefits due to improper eligibility redeterminations and overpayment assessments. For

 3   example, UTAB generates vague messages, and ESD sends these messages to unemployment

 4   claimants. Id. at ¶¶42, 47. If claimants fail to respond to these vague messages, UTAB

 5   automatically redetermines claimants’ eligibility and deems them ineligible. Id. This occurs

 6   without regard to suspicions of fraud, misrepresentation, or nondisclosure and without regard to

 7   whether thirty days have passed since eligibility was established. Id. at ¶¶42, 47, 56, 67, 75, 80,

 8   89, 92. UTAB also issues overpayment assessments based solely on non-response-based

 9   redeterminations. Id. at ¶42. These assessments are poorly written and confusing, and claimants

10   are unable to understand the factual or legal basis of ESD’s decision. Id.

11          Redeterminations and overpayment assessments occur before claimants are notified, and

12   claimants are not afforded a prior opportunity to contest the redetermination allegations. Id.

13   Instead, a claimant must appeal the redetermination and assessment after-the-fact. Id. ALJs at

14   OAH routinely overturn appealed redeterminations and overpayment assessments as legally

15   deficient, but ESD continues to utilize UTAB to issue these decisions. Id. at ¶¶43, 46, 48, 50.

16   B.     Overpayment notices deprive claimants of property and assign claimants liability.
17          An overpayment assessment is the Department’s determination that the recipient has

18   received unemployment benefits to which they were not entitled. Id. at ¶33. Once an overpayment

19   assessment is made, the Department—through its Commissioner—may institute a variety of

20   collection efforts to recoup—or deprive—allegedly overpaid benefits. For example, the

21   Commissioner may cease issuance of ongoing unemployment benefits or deduct (or “offset”) the

22   overpaid amount from benefits otherwise payable without any further notice to claimant. WAC

23   192-230-100. Defendant did just that against Plaintiff Sterling. Dkt. #14 at ¶58. The

24   Commissioner may also obtain a civil judgment and remedies such as writs of execution or

25   garnishment or a lien against real and personal property. RCW 50.24.115.

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 1          If the claimant fails to repay the overpayment or comply with repayment plan terms, the

 2   Commissioner is required to assess an interest penalty. RCW 50.20.190(6). She also must “engage

 3   in other detection and recovery of overpayment and collection activities.” RCW 50.20.190(7)(b).

 4   C.     Plaintiffs received automated redeterminations and overpayment assessments.
            Because of UTAB, each Plaintiff received a redetermination of their eligibility informing
 5
     them they were no longer eligible to keep certain benefits they had been awarded. Dkt. #14 at
 6
     ¶¶55-56, 63, 66-67, 73-76, 80-81, 85-86, 88-89, 92. No Plaintiff received any notice from the
 7
     Department before its redetermination that indicated the Department was considering
 8
     redetermination of their benefits or assessment of an overpayment. Id. Instead, each Plaintiff
 9
     received an automated assessment of overpayment. Id.
10
            Each Plaintiff requested an appeal. Id. at ¶¶57, 67, 76, 80, 86, 90, 95. Plaintiffs who
11
     received an appeal decision prevailed summarily on legal grounds. Dkt. #14 at ¶¶59, 64, 86, 90,
12
     95. Two Plaintiffs’ overpayment determinations were vacated because an ALJ found the Plaintiffs
13
     failed to receive constitutionally adequate notice of the final overpayment decision. Id. at ¶¶59,
14
     64. Three Plaintiffs had their overpayment determinations vacated on the grounds that the
15
     Department lacked jurisdiction to make the underlying redetermination due to the passage of time.
16
     Id. at ¶¶86, 90, 95. Two Plaintiffs are still waiting for their appeals to be heard. See id., ¶¶76, 80.
17
            Significant time elapsed between Plaintiffs’ receipt of the overpayment assessments and
18
     appeal hearings or decisions before OAH. Plaintiff Johnson was required to wait three months
19
     before an ALJ sua sponte vacated his overpayment assessment without a hearing. Dkt. #14 at
20
     ¶¶63-64. Plaintiffs who received hearings had to wait several months for appeal orders. See, e,g.,
21
     id. at ¶59. Plaintiff Erickson is still awaiting an appeal hearing for his September 2, 2021,
22
     overpayment assessment, and Plaintiff Ecklund is waiting for a hearing on her February 18, 2022,
23
     overpayment assessment and her March 15, 2022 redetermination decision. See id. at ¶¶76, 80.
24
            ESD withheld thousands of dollars from Plaintiff Sterling as an “offset” from his
25
     continuing claim payments Id. at ¶58. Each Plaintiff suffered emotional distress and spent time
26

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 1   and money to have the overpayment assessments declared invalid. Id. at ¶¶61, 68-69, 78, 82-83,

 2   87, 91, 96. These injuries are directly attributable to the Department’s failure to provide the pre-

 3   decisional procedural protections and notices required by federal law. Id.

 4   D.      Ms. Feek was personally involved in administering the UTAB system.

 5           Cami Feek is the Commissioner of the Department. Id. at ¶11. Commissioner Feek

 6   exercised oversight and control over UTAB since 2018 when she became the Department’s

 7   Deputy Commissioner responsible for its information technology services. See “Cami Feek,”

 8   LinkedIn, https://www.linkedin.com/in/cami-feek-581275207 (last visited July 14, 2022).1 She

 9   also served as the Department’s acting Commissioner in 2018. Id. Since February 2021,

10   Commissioner Feek has been the Commissioner of the Department. Dkt. #14 at ¶¶39-40.

11           Defendant has known of the systemic problems with UTAB and its damaging effects since

12   before she became Commissioner because she has acted in agency leadership, and UTAB’s

13   overpayment and assessment process has injured tens of thousands of people and received

14   widespread public attention.2 Id. at ¶43. Defendant personally acknowledged the specific UTAB

15   flaws at issue here in testimony to the Washington State Legislature. Id. at ¶¶43, 47. She also told

16   the Legislature she had considered and rejected a moratorium on overpayment assessments to

17

18   1
      On a motion to dismiss, it is proper for the Court to take judicial notice of matters of public record outside the
     pleadings. Mir v. Little Co. of Mary Hosp., 844 F.2d 646, 649 (9th Cir. 1988). Courts may take judicial notice of
19   LinkedIn profiles. McBain v. Behr Paint Corp., 16-CV-07036-MEJ, 2017 WL 1208074, at *3 (N.D. Cal. Apr. 3,
     2017).
20
     2
       Courts take judicial notice of news articles presented to demonstrate what is in the public realm. Von Saher v.
21   Norton Simon Museum of Art at Pasadena, 592 F.3d 954, 960 (9th Cir. 2010). Plaintiffs provide citations to the
     following news articles to demonstrate Defendant was aware of allegations of inaccurate overpayment assessments:
22   Editorial Board, Tacoma woman, thousands more on hook to repay jobless benefits. State, fix your mess, Tacoma
     News Tribune, Dec. 26, 2020, https://www.thenewstribune.com/opinion/editorials/article248081145 html;
23   Associated Press, Tens of Thousands in Washington may have to repay jobless benefits, (Mar. 5, 2021),
     https://apnews.com/article/business-washington-coronavirus-pandemic-economy-
24   5b99687735441352e42bd2f32d14e23e; Tony Black, 55,000 people may have to pay back portion of Washington
     unemployment benefits, King5.com, (Mar. 6, 2021), https://www.king5.com/article/news/local/washington-state-
25   unemployment-benefits-back-pay-pandemic/281-e919504e-9aae-4330-8ca3-1cb92c8996ad;               Paul     Roberts,
     Overpayment Mess at Washington State’s Unemployment Agency Gets Help from National Guard, Seattle Times
26   (Mar. 19, 2021), https://www.seattletimes.com/business/national-guard-to-help-washington-state-sort-through-
     thousands-of-unemployment-overpayment-notices/.
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 1   allow the Department to address the problems. 3 Commissioner Feek is aware that numerous

 2   invalid and unlawful Department redetermination letters and overpayment assessments continue

 3   to be issued, and she has ratified this conduct. Id. at ¶¶46, 49-51. Still, UTAB’s automated

 4   redetermination and overpayment assessment continues. Id. at ¶51.

 5                                         III.      LEGAL ARGUMENT

 6           On a Rule 12(b)(6) motion to dismiss, the Court must accept all factual allegations in the

 7   complaint as true and construe them in the light most favorable to the non-moving party.

 8   Disability Rights Montana, Inc. v. Batista, 930 F.3d 1090, 1096-97 (9th Cir. 2019). To survive a

 9   motion to dismiss, a plaintiff must allege facts supporting a “plausible” claim. Bell Atlantic Corp.

10   v. Twombly, 550 U.S. 544, 555-56 (2007). A claim has “facial plausibility” when the party seeking

11   relief “pleads factual content that allows the court to draw the reasonable inference that the

12   defendant is liable for the misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).

13           Here, Plaintiffs’ 39-page Amended Complaint (Dkt. #14) alleges sufficient facts to state

14   plausible claims under 42 U.S.C. § 1983 for Defendant’s due process violations and violations of

15   the Social Security Act, 42 U.S.C. § 503. As detailed in the Amended Complaint, Defendant

16   oversaw a software program that routinely and inaccurately redetermined Plaintiffs’ eligibility for

17   benefits and generated constitutionally inadequate determinations of liability. Defendant knew

18   the system generated unconstitutional assessments because ALJs have told ESD that the

19   assessments are unconstitutional; Defendant testified to as much before the Washington State

20   Legislature. Rather that fixing the system so that it no longer issues unconstitutional

21   determinations, Defendant instead relies on the victims of this unconstitutional scheme to appeal

22   the illegal determinations—tying up the claim for months, forcing the claimant to expend

23
     3
24    See Testimony of Cami Feek, Work Session before the Senate Committee on Labor, Commerce, & Tribal Affairs,
     https://app.leg.wa.gov/committeeschedules/#/Senate/28244/03-01-2021/03-06-2021/Schedule///Bill/ at 1:22:35-
25   1:23:58 (videotaped testimony, Mar. 4, 2021 8:00 a.m. session) (“I know that some have been interested in some
     kind of moratorium or being able to stop these overpayment letters and we -- we have considered that…”). Courts
26   may take judicial notice of legislative history. Ass'n des Eleveurs de Canards et d'Oies du Quebec v. Harris, 729
     F.3d 937, 945 n.2 (9th Cir. 2013).
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 1   countless hours of time and effort in the appeal, thrusting the claimant into a prolonged state of

 2   uncertainty, and—where the claimant continues to receive ongoing benefits—exposing the

 3   claimant to “offset” recoupments. In some instances, Plaintiffs were subject to multiple

 4   unconstitutional attempts to recoup benefits. Defendant’s argument, moreover, says nothing of

 5   the claimant who, either due to lack of adequate notice or for any other reason, does not appeal

 6   or simply repays the alleged overpayment. Moreover, ESD collects “overpayments” by deducting

 7   them from future benefit payments to which claimants are entitled. See WAC 192-230-100.

 8          In other words, Defendant insists she is permitted to rely on a faulty software program

 9   that issues unconstitutional assessments so long as unemployed individuals have the opportunity

10   to contest the unconstitutional findings after the fact. Defendant’s argument turns the law on its

11   head. It is her obligation to abide by the Constitution, not the Plaintiffs’ obligation to cure her

12   errors and thereby absolve her of the otherwise-unconstitutional conduct. Because Plaintiffs have

13   alleged facts that allow the Court to draw the reasonable inference that the Defendant is liable for

14   violating their due process rights and rights to a fair hearing and to payment of unemployment

15   benefits when due, this Court should deny Defendant’s motion.

16   A.     Plaintiffs have plausibly alleged a § 1983 claim based on the procedural due process
            requirements of the 14th Amendment.
17
            A 42 U.S.C. § 1983 claim based upon procedural due process has three elements: (1) a
18
     liberty or property interest protected by the Constitution; (2) a deprivation of the interest by the
19
     government; and (3) lack of process. Armstrong v. Reynolds, 22 F.4th 1058, 1066 (9th Cir. 2022).
20
            1.      Plaintiffs allege deprivation of a property interest.
21
            Defendant concedes Plaintiffs have a property interest in their unemployment benefits but
22
     argues that no deprivation occurred because Plaintiffs successfully appealed the ESD’s
23
     unconstitutional decisions. Defendant’s argument misses the mark.
24

25

26

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 1            First, several Plaintiffs allege wrongful withholding of their benefits.4 Plaintiff Sterling,

 2   for example, alleges that ESD withheld $6,994 from his ongoing weekly benefit payments to

 3   offset an unconstitutional finding of overpayment. Dkt. #14 at ¶58. Plaintiff Sterling alleges

 4   although he prevailed in an appeal, “ESD has refused to return to [him] the funds it deducted from

 5   [his] weekly benefits as an offset to pay for the January 29, 2021, overpayment amount.” Id. at

 6   ¶60. Defendant argues that because Mr. Sterling is “entitled” to the return of all funds, he has not

 7   been deprived of property. In other words, Defendant argues the actual seizure and ongoing

 8   failure to return property is not a deprivation of property. Common sense and well-established

 9   case-law negate this proposition. See Cleveland Bd. of Educ. v. Loudermill, 470 U.S. 532, 541-

10   42 (1985); Cahoo v. SAS Analytics Inc., 912 F.3d 887, 901 (6th Cir. 2019) (holding claimants

11   plausibly alleged due process violation where state relied on automated fraud detection system to

12   review eligibility for unemployment). Similarly, Plaintiff Ecklund alleges some of her weekly

13   claims were not paid and ESD never provided notice of denial of the claim. Dkt. #14 at ¶71-72.

14            Moreover, as the Supreme Court has long recognized, temporary and partial interferences

15   with property rights may result in a due process violation. In Connecticut v. Doehr, the Court

16   struck down a statute that allowed plaintiffs to attach property pre-judgment. 501 U.S. 1 (1991).

17   Although plaintiffs had no right to possess the property until after judgment, the Court nonetheless

18   held attachment was a deprivation of property under the Due Process Clause. Id. at 11-12 (“even

19   the temporary or partial impairments to property rights that attachments, liens, and similar

20   encumbrances entail are sufficient to merit due process protection.”).

21            When ESD issues a finding of eligibility for benefits, it creates a property right for

22   claimants. See Dkt. #14 at ¶¶26, 32; Goldberg, 397 U.S. at 262; Cahoo, 912 F.3d at 900

23   (“Recipients of unemployment compensation have constitutionally-protected property interests

24   in unemployment benefits.”). An ESD redetermination is a “determination of liability”—a

25
     4
26    Plaintiffs seek to represent a class that would include many other individuals who have been denied benefits, repaid
     benefits, and/or who temporarily or permanently lost benefits through offsets due to Defendant’s unlawful conduct.
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 1   finding that the claimant is no longer entitled to the benefits received and must repay them. RCW

 2   50.20.190(3) (emphasis added); see also WAC 192-220-017. Thus, whether or not the claimant

 3   has yet paid the funds back, the claimant is no longer the owner of the benefits already received.

 4   In other words, a debt (“determination of liability”) has been formally issued against the claimant

 5   even if the claimant has yet to pay the debt allegedly owed. See id. The burden is on the claimant

 6   to appeal the determination and disprove ESD’s conclusion. See RCW 50.20.190(3). “If [the

 7   claimant] do[es] not repay an overpayment in full or make the minimum monthly payments

 8   provided for . . . , the principal amount will be deducted from benefits payable for any [future]

 9   week(s)” for which the claimant seeks benefits. WAC 192-230-100. Just as in Doehr, the

10   redetermination itself constitutes at least a temporary or partial deprivation of the property

11   interest. Damages flow from this deprivation of the entitlement to benefits; claimants suffer

12   emotional distress, spend months in legal limbo where it is unclear if they may keep money

13   already received, expend time and money appealing the redetermination, and must budget for the

14   possibility of repayment. See Dkt. #14 at ¶¶61, 68, 69, 78, 82-83, 87, 90-91, 95-96.

15          The Sixth Circuit reached a similar conclusion in a remarkably similar case. In Cahoo,

16   the plaintiffs similarly alleged the state of Michigan used a faulty software program for

17   administering unemployment benefits. 912 F.3d at 892-94. The computer program issued

18   automated “fraud” determinations, often erroneously, that exposed claimants to future

19   recoupment proceedings. Id. at 892-95. Although only two of the five named plaintiffs were

20   actually forced to repay money as a result of this program, the Sixth Circuit nonetheless concluded

21   that all five plaintiffs had been deprived of a property interest. Id. at 901. In response to the

22   argument that the plaintiffs had not been deprived of a property right, the Court explained that the

23   finding of fraud could interfere with plaintiffs’ ability to obtain unemployment benefits to which

24   they would otherwise be entitled in the future. The same is true here; a claimant with an

25   “overpayment” balance faces offsets if they file a new unemployment claim. WAC 192-230-100.

26          The United States Department of Labor (“DOL”) also recognizes that an overpayment

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 1   notice itself interferes with the claimant’s interest in benefits, and thus requires notice and a

 2   hearing before issuing the redetermination notice, not simply before collecting the overpayment.

 3   Portia        Wu,     DOL       UIPL        No.      01-16        at        2-3     (Oct.        1,      2015),

 4   https://wdr.doleta.gov/directives/attach/UIPL/UIPL_01-16_Acc.pdf. Recognizing the serious

 5   impact of redeterminations on an unemployment recipient, DOL also instructs state agencies not

 6   to redetermine benefits based on computer analysis without independently verifying the

 7   information leading to the redetermination. UIPL No. 01-16 at 5.

 8            Furthermore, “there are two types of injuries cognizable under the procedural component

 9   of the Due Process Clause: one occurs from the wrongful taking of property; the other occurs

10   from being denied fair treatment by the government, even if the deprivation was not wrongful, as

11   individuals can suffer emotional distress due to their unfair treatment.” Cahoo v. Fast Enterprises

12   LLC, 528 F. Supp. 3d 719, 756 (E.D. Mich. 2021), reconsideration denied, No. 17-10657, 2022

13   WL 157818 (E.D. Mich. Jan. 18, 2022) (citing Carey v. Piphus, 435 U.S. 247, 262-64 (1978)).

14   Here, the illegal redetermination of benefits and unconstitutional assessments caused recipients

15   substantial injury including emotional distress. See Dkt. #14 at ¶¶61, 69, 87, 83, 87, 91, 96.

16            2.      A post-deprivation appeal does not cure the lack of pre-deprivation notice
                      and hearing.
17
              Defendant claims that because certain Plaintiffs have successfully appealed the
18
     deprivation of property post-deprivation, there is no due process violation. Defendant is wrong.
19
              “[T]he Supreme Court has held that the hallmark of due process is that a deprivation of a
20
     property interest must be ‘preceded by notice and opportunity for hearing appropriate to the nature
21
     of the case.’” Loudermill, 470 U.S. at 542. “‘[T]he root requirement’ of the Due Process Clause
22
     [is] ‘that an individual be given an opportunity for a hearing before he is deprived of any
23
     significant property interest.’” Id. The Supreme Court has instructed courts to consider three
24
     factors when determining whether an individual received sufficient pre-deprivation process:
25
              First, the private interest that will be affected by the official action; second, the risk of an
26            erroneous deprivation of such interest through the procedures used, and the probable

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              value, if any, of additional or substitute procedural safeguards; and finally, the
 1            Government’s interest, including the function involved and the fiscal and administrative
              burdens that the additional or substitute procedural requirement would entail.
 2
     Mathews v. Eldridge, 424 U.S. 319, 335 (1976) (citing Goldberg, 397 U.S. at 263-71). “Applying
 3
     this test, the [Supreme] Court has usually held that the Constitution requires some kind of a
 4
     hearing before the State deprives a person of liberty or property.” Zinermon v. Burch, 494 U.S.
 5
     113, 127 (1990).
 6
              Moreover, as Cahoo and the Supreme Court have recognized, “postdeprivation remedies
 7
     alone will not satisfy due process if the deprivation resulted from conduct pursuant to an
 8
     ‘established state procedure,’ rather than random and unauthorized conduct.” Cahoo, 912 F.3d at
 9
     903 (citing Logan v. Zimmerman Brush Co., 455 U.S. 422, 435-36 (1982)). The reasoning for this
10
     conclusion is obvious: where a state-run process is constitutionally infirm, the state should fix the
11
     process rather than relying on a post-deprivation remedy that puts the burden on the claimant to
12
     cure the constitutional violation.5
13
              Ignoring this overwhelming body of appellate federal case law, 6 Defendant relies on
14
     unpersuasive out-of-circuit decisions. In Blackford v. Kansas, 938 F. Supp. 739 (D. Kan. 1996),
15
     for example, a pro se plaintiff was never granted unemployment benefits, appealed, and claimed
16
     violation of his due process rights because there was an incomplete recording of the initial
17
     hearing. This case says nothing about the general appropriateness of post-deprivation remedies to
18
     cure a due process violation. In Daniels v. Commonwealth, 465 A.2d 726 (Pa. 1983), the state
19
     issued a preliminary decision that was not finalized until after an opportunity for a hearing; there
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21
     5
       Defendant separately complains that state law requires her to presume ineligibility where a claimant fails to respond
22   to a request for more information from ESD. Dkt. #16 at 8 n.6. State law, however, does not require Defendant to
     send claimants unconstitutionally vague and confusing letters. Nor does state law require Defendant to use an
23   automated process to redetermine eligibility for benefits in violation of state law and DOL guidance. Furthermore,
     federal law prohibits issuing an overpayment solely based on failure to respond to a request for information. See
24   Portia Wu, UIPL No. 01-16 Change 1 U.S. DEP’T OF LAB., at p.3 (Jan. 13, 2017) (“the failure to report is not
     sufficient to make a finding as to whether or not any prior weeks of benefits were improperly paid”),
25   https://wdr.doleta.gov/directives/attach/UIPL/UIPL_01-16-Change-1.pdf.
     6
26    In general, Defendant’s brief eschews appellate decision and instead relies heavily on unpublished and lower court
     decisions for broad propositions about the scope of the Due Process Clause. See Dkt. #16 at 8-9.
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 1   was no allegation that the notice given prior to the hearing was inadequate. Under these facts, the

 2   Court found the claimant had received due process.7 Here, Plaintiffs were granted unemployment

 3   benefits because they were eligible, and ESD deprived them of benefits before they could have a

 4   hearing to challenge the deprivation. See Dkt. #14 at ¶¶52-96.

 5            Defendant suggests Plaintiff Sterling—who alleges he has still not been repaid the nearly

 6   $7,000 owed to him by ESD (id. at ¶¶58-60)—has not been denied due process because “he does

 7   not contend that he is without other available remedies to collect that amount.” Dkt. #16 at 7 n.4.

 8   Defendant essentially argues that because Plaintiff Sterling could file a lawsuit seeking repayment

 9   of benefits that are his property, it did not violate his due process rights by seizing the property

10   without prior notice or hearing. This argument would preclude virtually every due process claim

11   as there will always be “other available remedies” to collect property wrongfully seized.

12            Moreover, even if post-deprivation remedies could be considered adequate in some

13   circumstances, the remedy here was inadequate to cure the initial violation. First, there is a high

14   risk that ESD will wrongfully redetermine claimants to be ineligible for benefits because

15   Defendant allowed UTAB to use a flawed automated process to redetermine eligibility and did

16   not require ESD employees to independently verify the information underlying the

17   redeterminations. See Mathews, 424 U.S. at 325. Second, the assessments issued to Plaintiffs and

18   class members are constitutionally deficient because they failed to provide notice of the basis for

19   the redeterminations. Dkt 14 at ¶¶42, 55-56, 64, 66-67, 74-75, 77, 80-81, 86, 93.8 OAH has

20

21
     7
       Notably, Daniels has not been cited, even once, by a state or federal court. It should not be read to announce a broad
22   standard allowing for only post-deprivation remedies.

23   8
      Defendant downplays the constitutionally infirm redeterminations on the theory that they did not impair plaintiffs’
     ability to appeal. The cases cited by Defendant, however, provide no support for her position. In Farina v.
24   Metropolitan Transportation Authority, 409 F.3d 173, 212 (S.D.N.Y. 2019), for example, the issue was whether
     delay in providing notice of a fine impacted a toll-violator’s ability to contest the fine; it did not, and thus there was
25   no due process violation. Carpenter-Barker v. Ohio, 187 F. Supp. 3d 881, 886 (S.D. Ohio 2016), addressed solely
     mootness. In Mundell v. Board, No. CIV.A. 05-CV-00585RE, 2007 WL 128805, at *3 (D. Colo. Jan. 12, 2007), the
26   court found the plaintiff was not misled or confused by the notice and he understood the basis for the denial of
     benefits. In Gean v. Hattaway, 330 F.3d 758, 773 (6th Cir. 2003), the Court found the lack of notice irrelevant because
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 1   already found as much. Id. at ¶45. Third, the appellate process puts the burden on the claimant to

 2   appeal and disprove UTAB’s redetermination; in some instances, the appellant must re-establish

 3   eligibility for benefits. See id. at ¶51. Fourth, ESD can collect repayments from claimants through

 4   wage garnishments, seizure of tax returns, real property, or through offsets to future benefits, if

 5   claimants fail to appeal. RCW 50.20.190; WAC 192-230-100. Fifth, claimants receiving ongoing

 6   benefits will have benefits reduced to offset the purported repayment during the appellate process,

 7   as occurred for Plaintiff Sterling. Dkt. #14 at ¶58. Sixth, the appellate process takes months,

 8   impairing Plaintiffs’ property rights through the process. And finally, because of flaws in ESD’s

 9   software, Plaintiffs are at risk of repeated wrongful redeterminations, restarting the process over

10   and over again. Id. at ¶¶42, 47, 51.

11            Rather than defend her conduct, Defendant relies on the frequency of the constitutional

12   violations as a point in her favor, arguing that because OAH knows the redeterminations are

13   constitutionally invalid, there is no harm to claimants. Dkt. #16 at 9-10. Put another way,

14   Defendant claims a state agency may routinely violate the Constitution if an administrative

15   appeals entity knows about the violations. This Court should not adopt this proffered approach.

16   B.       Qualified immunity does not bar Plaintiffs’ claims.

17            Ignoring the leading appellate case squarely addressing the issues here, Cahoo v. SAS

18   Analytics, Defendant argues Plaintiffs’ claims are subject to dismissal on qualified immunity

19   grounds because the right at issue was not clearly established. The Sixth Circuit already found in

20   a remarkably similar case that qualified immunity does not bar claims against state officials for

21   authorizing the use of software that routinely deprives unemployment claimants of property rights

22   without adequate notice or a pre-deprivation hearing. Cahoo, 912 F.3d at 899-905.

23            As the court recognized in Cahoo, the right to notice and a hearing prior to deprivation of

24   unemployment benefits is clearly established. Id. at 903-904. Thus, “every reasonable Agency

25

26   the plaintiff had no right to the property being claimed. In none of these cases did the plaintiff allege the initial state
     action itself caused damage to plaintiff that was exacerbated by the deficient notice, as Plaintiffs allege here.
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 1   employee should have known that depriving Plaintiffs of their property interests without adequate

 2   notice or a meaningful opportunity to be heard violated due process.” Id. at 904. And “every

 3   reasonable Agency employee should have realized that the flawed [unemployment software]

 4   system resulted in unconstitutional deprivations of protected property interests” because it “did

 5   not entail any meaningful fact-finding measures[] and failed to provide adequate notice or an

 6   opportunity to be heard prior to terminating claimants’ unemployment benefits…” Id. Much like

 7   the state officials in Cahoo, Defendant knew or should have known (1) the flawed UTAB system

 8   generated redeterminations without adequate factual basis; (2) ESD did not independently verify

 9   the redetermination findings before issuing notices to individuals in violation of the guidance

10   issued by DOL; and (3) UTAB did not give individuals constitutionally adequate notice. Case

11   law clearly establishes that where there is a high risk of wrongful deprivation of benefits, post-

12   deprivation remedies will not suffice. Mathews, 424 U.S. at 335.

13            Case law also clearly establishes that notice must be “reasonably calculated, under all of

14   the circumstances, to apprise interested parties of the pendency of the action and afford them an

15   opportunity to present their objections.” Mullane v. Central Hanover Bank and Trust Co., 339

16   U.S. 306, 314 (1950). Defendant knew the UTAB communications were deficient because OAH

17   repeatedly told ESD the letters violated the Due Process Clause. Defendant cannot claim she had

18   no reasonable notice her conduct was illegal when she knew: (1) UTAB ran a substantial risk of

19   wrongfully depriving claimants of benefits; and (2) the letters regarding the deprivation were

20   unconstitutionally deficient under well-established Supreme Court precedent.9

21            In Cahoo, the Sixth Circuit rejected any assertion that novelty of constitutional violation—

22   through the usage of the unemployment software—rendered the right not “clearly established.”

23   As the Court explained, “[t]he operative inquiry is not whether a previous court faced perfectly

24

25
     9
       Defendant argues OAH’s decisions failed to give her prior notice of unconstitutional behavior because they are not
26   decisions from a judicial forum. But OAH applied the due process notice standards clearly spelled out by state and
     federal case law in determining Defendant’s conduct violated the Constitution.
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 1   analogous facts—it is ‘whether it would be clear to a reasonable officer that his conduct was

 2   unlawful in the situation he confronted.’” Cahoo, 912 F.3d at 904 (quoting Baynes v. Cleland,

 3   799 F.3d 600, 610 (6th Cir. 2015)); see also Hope v. Pelzer, 536 U.S. 730, 741 (2002) (“officials

 4   can still be on notice that their conduct violates established law even in novel factual

 5   circumstances”). Where the state actor employs a computer system that has known problems

 6   leading to the unconstitutional deprivation of benefits with inadequate notice, the defendant

 7   cannot hide behind the software to claim qualified immunity. Cahoo, 912 F.3d at 905; see also

 8   Harlow v. Fitzgerald, 457 U.S. 800, 818-19 (1982) (where the right is “clearly established, the

 9   immunity defense ordinarily should fail, since a reasonably competent public official should

10   know the law governing [the official’s] conduct”).

11          Defendant misconstrues Plaintiffs’ claims as simply alleging an “erroneous” finding of a

12   redetermination rather than a violation of constitutional rights. Plaintiffs allege the

13   redetermination, generated from the flawed UTAB system without prior notice or hearing,

14   constituted a constitutional violation. Dkt. #14 at ¶¶42, 118. Plaintiffs do not allege Defendant

15   simply made good faith mistakes about unemployment eligibility; Plaintiffs allege she used a

16   software program that systematically made unlawful redetermination findings and, contrary to

17   DOL requirements, made no attempt to independently verify the basis for the redeterminations.

18   Defendant willingly embraced the usage of a program that Defendant knew would wrongfully

19   redetermine benefits, posing a substantial risk that the recipient would forfeit property, and

20   Defendant failed to take adequate steps to reduce the risk of unconstitutional deprivations.

21   C.     Plaintiffs have alleged adequate facts against Defendant individually.

22          Although supervisors cannot be liable on a respondeat superior theory for 42 U.S.C. §

23   1983 claims, supervisors need not actually commit the misconduct or even be present at the time

24   of the constitutional violation to be liable, so long as their actions proximately caused or led to

25   the plaintiff’s injury. Starr v. Baca, 652 F.3d 1202, 1207-08 (9th Cir. 2011). “The requisite causal

26   connection can be established . . . by setting in motion a series of acts by others, which [the

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 1   supervisor] knew or reasonably should have known would cause others to inflict a constitutional

 2   injury.” Starr, 652 F.3d at 1207-08 (internal quotations omitted). “A supervisor can be liable in

 3   his individual capacity for his own culpable action or inaction in the training, supervision, or

 4   control of his subordinates; for his acquiescence in the constitutional deprivation; or for conduct

 5   that showed a reckless or callous indifference to the rights of others.” Id. at 1208 (quoting Watkins

 6   v. City of Oakland, 145 F.3d 1087, 1093 (9th Cir. 1998)). Moreover, a supervisor’s failure to

 7   intervene in a constitutional violation is sufficient to establish liability. Robins v. Meecham, 60

 8   F.3d 1436, 1442 (9th Cir. 1995).

 9          Plaintiffs do not need to allege that Defendant played a personal role in redetermining

10   their individual benefits to maintain a § 1983 claim. It is sufficient to allege Defendant is

11   responsible for applying the flawed UTAB system, enforcing automated determinations with

12   knowledge of the flaws in the system, and failing to take corrective action—even if she did not

13   create the UTAB system. See Cahoo, 912 F.3d at 901 n.6; Cahoo, 528 F. Supp. 3d at 750-51.

14   Facing strikingly similar facts, the Cahoo court refused to dismiss claims against the

15   unemployment commissioner who inherited the faulty computer program where the plaintiffs

16   alleged that the commissioner “continued to pursue the same defective policies despite knowing

17   about [software] problems and invalid fraud determinations.” Cahoo, 912 F.3d at 901 n. 6. On a

18   subsequent motion for summary judgment, the district court affirmed that decision, explaining

19   that although the new commissioner took steps to resolve some flaws in the software program,

20   “the record allows an inference that she actively encouraged, authorized, or acquiesced to the rote

21   application of logic trees and use of substantively deficient questionnaires and fraud

22   determination notices.” Cahoo, 528 F. Supp. 3d 719 at 751.

23          The allegations in the Amended Complaint go far beyond the allegations the Sixth Circuit

24   deemed adequate in Cahoo to survive a motion to dismiss. Indeed, Plaintiff alleges a robust set

25   of facts regarding Defendant’s individual conduct:

26              Defendant “administers” a “defective claims management program” (Dkt. #14 at ¶1);

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                Defendant “requires” ESD employees to use UTAB (id. at ¶2);
 1
                Defendant has “publicly stated her ongoing support and belief in the automated claims
 2              system” and that “process automation and claimant ‘self-service’ are essential tools
                for the administration of the unemployment benefit program (id. at ¶41);
 3              Defendant is aware of the systemic flaws in UTAB, including that UTAB
                automatically redetermines eligibility without adequate factual finding and generates
 4              vague and confusing notices (id. at ¶¶42-43);
 5              Defendant has acknowledged UTAB’s deficiencies in public statements and in
                testimony before the Washington State Legislature (id. at ¶43);
 6              Despite knowledge of UTAB’s problems, Defendant has not stopped ESD’s unlawful
                notice practices (id. at ¶46);
 7              On information and belief, Defendant knew of and ratified a work-around that allowed
 8              ESD to continue using UTAB’s deficient systems to issue notices and assess
                overpayments (id. at ¶46);
 9              Defendant testified to the Legislature that ESD has an ongoing policy of automatically
                redetermining eligibility and assessing overpayments based solely on the claimant’s
10              failure to respond within five to ten days to an ESD request for information (id. at
                ¶47);
11
                Defendant confirmed to the legislature “ESD’s form correspondence is often
12              unintelligible and that ESD is constantly re-evaluating claimants’ eligibility for
                benefits and assessing overpayments long after those benefits were paid” (id. at ¶47);
13              Defendant causes ESD to continue to issue deficient redetermination and/or
                overpayment assessments, which are not understood or successfully appealed (id. at
14              ¶50);
15              Defendant continues to cause ESD to propound untimely and deficient
                redetermination and overpayment assessment letters (id. at ¶51).
16
     D.     The full range of Section 1983 damages are available to Plaintiffs.
17
            Defendant argues Washington law limits Plaintiffs’ damages for their § 1983 claims to
18
     the value of their unemployment benefits. Not only is Defendant’s argument premature, it is
19
     wrong. Section 1983 is a remedial statute “broadly construed” to provide a remedy “against all
20
     forms of official violation of federally protected rights.” Dennis v. Higgins, 498 U.S. 439, 445
21
     (1991). Section 1983 is meant to compensate those injured by a deprivation of federal rights and
22
     to prevent future abuses of power by deterrence. Robertson v. Wegmann, 436 U.S. 584, 59 (1978).
23
            Although state law may inform damages under § 1983, it may do so only to the extent it
24
     is not inconsistent with the purposes of § 1983. Where the remedy afforded by state law is
25
     inconsistent with the dual purposes of § 1983—compensation and deterrence—federal courts
26

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 1   must disregard state rules. Chaudhry v. City of Los Angeles, 751 F.3d 1096, 1104-05 (9th Cir.

 2   2014) (refusing to apply California law limiting recovery for pre-death pain and suffering because

 3   doing so was not consistent with § 1983’s deterrence policy). Here, confining the remedy for the

 4   violation of Plaintiff’s due process rights to unemployment benefits themselves would not

 5   adequately compensate plaintiffs or deter similar misconduct. Limiting Plaintiffs to the recovery

 6   of the benefits themselves would not compensate Plaintiffs for the time and effort expended in

 7   securing the property rights or the significant emotional distress suffered during the pendency of

 8   the appeal. See Carey v. Piphus, 435 U.S. 247, 263–64, 257 n.11 (1978) (recognizing emotional

 9   distress damages are available for violations of due process rights). Limiting damages as

10   Defendant proposes would also not compensate Plaintiffs or class members for prejudgment

11   interest or attorneys’ fees incurred where benefits were temporarily or permanently revoked. It

12   would not deter Defendant or other state officials from engaging in such conduct in the future.

13   Defendant could continue to systematically violate the constitutional rights of claimants with no

14   real risk of liability if all that was required to moot a lawsuit would be to repay the benefits that

15   were wrongfully rescinded in the first place. The wrong sought to be righted in this lawsuit is not

16   merely the deprivation of a property right, but the deprivation of a property right in an

17   unconstitutional manner.

18          No case cited by Defendant suggests otherwise. Washington Trucking Associations v.

19   State is not on point; it concerns the remedy for § 1983 actions challenging the validity of state

20   taxes. 188 Wn.2d 198, 211-16 (2017). Section 1983 claims challenging state taxes are subject to

21   a different analysis than ordinary § 1983 claims. See id.

22   E.     Plaintiff Sterling’s claims accrued under Defendant’s leadership of ESD.

23          Based on the fact that Sterling’s redetermination letter was issued two days before

24   Defendant transitioned to Acting Commissioner, Defendant argues Plaintiff Sterling’s claim arose

25   “before” her tenure. The specific allegations and timeline reveal this argument to be misguided.

26          On January 29, 2021, ESD issued Sterling a redetermination letter finding him ineligible

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 1   to keep benefits paid from September 20 to December 20, 2020. Dkt. #14 at ¶56. Defendant

 2   became Acting Commissioner on February 1, 2021, id. at ¶39, and her LinkedIn profile confirms

 3   she previously oversaw ESD operations for several years in different capacities. Sterling

 4   requested a waiver, which ESD—under Defendant’s control—denied on February 11. Id. at ¶57.

 5   In that letter, ESD claimed Sterling was ineligible for benefits beginning March 15, 2020, not

 6   simply from September to December. Id. While Sterling was waiting for his appeal, ESD, guided

 7   by Defendant, took nearly $7,000 in “offsets” from Sterling’s ongoing benefits—a deprivation

 8   that occurred without constitutionally adequate notice or hearing. Id. at ¶58. This occurred while

 9   Defendant was the acting Commissioner. Moreover, even after Sterling prevailed in his appeal in

10   August 2021, ESD had not repaid him. Id. at ¶60. Thus, the facts show that while Defendant was

11   serving as Commissioner: (1) ESD issued a constitutionally deficient redetermination to Sterling

12   regarding his eligibility for benefits for the period beginning March 15, 2020, using the UTAB

13   system; (2) ESD collected money from Sterling in the form of offsets based on the UTAB

14   redetermination; and (3) ESD failed to return money to Sterling after his successful appeal.

15   Plaintiffs need not allege that Defendant personally committed any of these acts—only that she

16   was aware of and allowed ESD to continue to enforce deficient redeterminations.

17   F.     Plaintiffs properly pled their § 1983 claim based on the “when due” requirement in
            42 U.S.C. § 503(a)(1).
18
            Against the great weight of case law, Defendant claims 42 U.S.C. § 503(a)(1) does not
19
     provide a cause of action. “Private causes of action have regularly been allowed in suits based
20
     upon the Social Security Act.” Brewer v. Cantrell, 622 F. Supp. 1320, 1322 (W.D. Va. 1985).
21
     “Under 42 U.S.C. § 1983, a private cause of action is also allowed.” Id. at 1323. Plaintiffs properly
22
     pled § 503 claims under 42 U.S.C. § 1983, and Plaintiffs’ claims are not moot.
23
            1.      For over fifty years, courts have recognized lawsuits under § 503(a)(1).
24
            The Supreme Court has recognized that § 503(a)(1) provides a right of action to eligible
25
     unemployment claimants whose benefits are canceled or suspended despite eligibility. See Cal.
26

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 1   Dep’t of Hum. Res. Dev. v. Java, 402 U.S. 121, 135 (1971). In Java, a class of plaintiffs sued the

 2   state seeking, in part, a declaration that California’s practice of suspending unemployment

 3   benefits pending an appeal violated § 503(a)(1). Id. at 124. Under the operative unemployment

 4   program, if an employer appealed a determination of unemployment eligibility, the department

 5   would suspend payment of unemployment benefits pending the appeal. Id. at 128. If the

 6   unemployment claimant was successful in defending their eligibility, then the department would

 7   pay the unemployment claimant a lump sum payment of the suspended benefits. Id. at 129.

 8          The plaintiffs argued that the suspension of benefits violated the strictures of § 503(a)(1)

 9   requiring payment of benefits “when due.” Id. at 129-30. The Court agreed. Id. at 133. Analyzing

10   the history and policy surrounding the enactment of the unemployment system, the Court

11   concluded that “when due” meant “the time when payments are first administratively allowed as

12   a result of a hearing of which both parties have notice and are permitted to present their respective

13   positions.” Id. at 133. The Court explained “delaying compensation until months have elapsed

14   defeats” the purpose of the Social Security Act, and a procedure “which suspends payments” for

15   “weeks pending appeal, after an initial determination of eligibility has been made, is not

16   ‘reasonably calculated to insure full payment of unemployment compensation when due.’” Id.

17          Java established that § 503(a)(1) imposed two requirements on state unemployment

18   programs. First, once an initial determination that a claimant was eligible occurred, a state could

19   not suspend benefits pending a redetermination of eligibility, such as through an appeal. Id.

20   Second, a state could not make a determination regarding eligibility without first providing a pre-

21   determination factfinding process and reasonable notice of hearing to the claimant. Id. This

22   interpretation of Java was solidified by DOL UIPL No. 1145.

23          Following Java, federal courts repeatedly recognized private suits against state

24   unemployment programs alleging violations of § 503(a)(1). Jenkins, 691 F.2d 1225, 1228 (7th

25   Cir. 1982); Eunice v. Ellzey, No. 2:21-cv-2010-BHH, 2022 WL 2374165, at *7 (D.S.C Mar. 10,

26   2022) (“following Java, courts around the country recognized a private right of action under §

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 1   503(a)(1)” and “the ‘fair hearing’ provision of § 503(a)(3)”); Brewer, 622 F. Supp. at 1322-23.

 2   Indeed, the Seventh Circuit considered the availability of private suits “too well settled to be

 3   questioned by us.” Jenkins v. Bowling, 691 F.2d at 1228. “[B]ecause the Supreme Court has never

 4   specifically repudiated Java,” courts must “proceed under the conclusion that such a private right

 5   exists.” Eunice, 2022 WL 2374165, at *8. Thus, this Court should hold that § 503(a)(1) provides

 6   Plaintiffs a private right of action enforceable under § 1983.

 7            2.       Plaintiffs’ § 503(a)(1) claims apply to Defendant’s invalid recoupment
                       procedures.
 8
              This Court should also reject Defendant’s argument that § 503(a)(1) does not apply to
 9
     unemployment recoupment. In the cases Defendant cites, the recoupment procedures at issue were
10
     lawful—unlike here. Indeed, Blount v. Smith expresses the very purpose of Plaintiffs’ § 503(a)(1)
11
     claims by explaining that an unlawful recoupment procedure violates § 503(a)(1): “If [the state’s
12
     recoupment procedure statute] were invalid, as Plaintiffs assume, then benefits would indeed be
13
     ‘due and § 303 of the Federal Act would require the state to provide prompt payment.’” Blount v.
14
     Smith, 440 F. Supp. 528, 530 (M. D. Penn. 1977).10
15
              Here, the recoupment procedures used by Defendant are invalid. Therefore, benefits are
16
     “due” and require prompt payment and a pre-deprivation hearing before eligibility is revoked or
17
     altered. The UTAB system automatically redetermines claimant eligibility for past benefits based
18
     on a claimant’s failure to respond to a vague message. Dkt. #14 at ¶42. In doing so, UTAB bases
19
     its redetermination decision on factors other than fraud, misrepresentation, or non-disclosure. Id.
20
     UTAB then generates redeterminations and overpayment assessments that are untimely and
21
     beyond ESD’s legal authority. Id. at ¶¶31, 42, 50-51. As explained, these overpayment
22
     assessments are legally deficient, and ESD does not provide a hearing prior to making a
23
     redetermination. Id. at ¶¶34-37, 42-43, 50-51.
24

25
     10
       Plaintiffs do not dispute that a state may institute lawful recoupment procedures to collect overpayment of benefits.
26   However, as explained, ESD’s use of UTAB led to repeated and unlawful suspension, debit, and collection of eligible
     claimants’ unemployment benefits.
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 1          Section 503 required ESD to provide a pre-deprivation fact-finding process and hearing

 2   before determining ineligibility and overpayment. For each Plaintiff, ESD redetermined their

 3   benefit without allegations of fraud, misrepresentation, or nondisclosure, and outside of the thirty-

 4   day window for ESD to make such a redetermination. See RCW 50.20.160(3). ESD also instituted

 5   recoupment procedures without providing any pre-deprivation fact-finding investigation in

 6   violation of Java and UIPL No. 1145.

 7          For each Plaintiff, ESD redetermined eligibility and assessed an overpayment without any

 8   pre-deprivation fact-finding process or hearing. Accordingly, Defendant failed to provide benefits

 9   “when due,” and Plaintiffs have properly pled a violation of § 503(a)(1) under Java’s pre-

10   deprivation hearing requirement. Furthermore, Plaintiffs Sterling’s and Ecklund’s benefits were

11   suspended, debited, and/or not paid despite eligibility, and Defendant failed to provide payment

12   while eligibility was redetermined. ESD took thousands of dollars from Plaintiff Sterling through

13   “offsets.” Dkt. 14 at ¶58. Despite winning his appeal, ESD refuses to return these amounts to him.

14   Id. at ¶60. Similarly, Defendant failed to provide Plaintiff Ecklund benefits for many weeks after

15   September 2021. Id. at ¶71-72. Despite receiving backpay for some missed benefits, she still has

16   not received all of her benefits. Id. at ¶72. Accordingly, Defendant violated § 503(a)(1) by failing

17   to provide the Plaintiffs with prompt payment of benefits when due.

18          Section 503(a)(1) provides a private cause of action through § 1983 for claimants denied

19   prompt payment of their benefits and/or a pre-deprivation fact-finding process and hearing before

20   any adverse eligibility redetermination. Defendant failed to provide every Plaintiff a pre-

21   deprivation fact-finding process and hearing before redetermining their eligibility and assessing

22   overpayments. For Plaintiffs Sterling and Ecklund, Defendant withheld benefits they were

23   otherwise eligible to receive. Accordingly, Plaintiffs have each pled a viable § 503(a)(1) claim.

24          3.      Plaintiffs’ § 503(a)(1) claims are not moot.

25          The Court should reject Defendant’s argument that the claims of Plaintiffs who

26   successfully appealed their redetermination decisions are moot.

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 1            Contrary to Defendant’s contention, Indiana Employment Security Division v. Burney

 2   does not establish that successful determinations of unemployment eligibility moot § 503(a)(1)

 3   claims. Rather, Burney merely questioned the application of the mootness doctrine, and the case

 4   was remanded to determine that issue.11 Ind. Emp’t. Sec. Div. v. Burney, 409 U.S. 540, 541 (1973)

 5   (“The full settlement of Mrs. Burney’s financial claim raises the question whether there continues

 6   to be a case or controversy in this lawsuit.”). As recognized by Justices Marshall and Brennan in

 7   dissent, a determination of mootness in these circumstances is highly suspect:

 8            A determination of mootness based on this line of reasoning would effectively bar the full
              and final litigation of whether a pre-termination hearing is legally required, while leaving
 9
              Indiana free to continue to provide Mrs. Burney and other beneficiaries of unemployment
10            insurance with only post-term termination hearings.

11   Id. at 544. A claim is not moot if it is “capable of repetition, yet evading review.” Id.12

12            Courts now widely recognize an exception to the mootness doctrine for cases that are

13   capable of repetition, yet evading review. See Kingdomware Tech. Inc. v. United States, 579 U.S.

14   162, 170 (2016). This exception applies where (1) the challenged action is too short in duration

15   to be fully litigated prior cessation or expiration, and (2) the plaintiff can reasonably expect to be

16   subjected to the same action again. Id. In the class action context, the potential for repetitive

17   violations is more severe, as defendants might evade review of unlawful practices merely by

18   seeking to resolve the claims of the named plaintiffs:

19            The claims of delay which the plaintiffs advance, however, epitomize the type of claim
              which continually evades review if it is declared moot merely because the defendants have
20            voluntarily ceased the illegal practice complained of in the particular instance. Thus, the
              defendants may expedite processing for any plaintiffs named in a suit while continuing to
21            allow long delays with respect to all other applicants.

22

23
     11
24     Defendant also cites East v. Pryor, 89 F.R.D. 75, 77 (E.D. Ark. 1981) for her argument that Plaintiffs’ § 503(a)(1)
     claims are moot. However, East v. Pryor summarily determined that the claims were moot with functionally no legal
25   reasoning and no consideration of mootness exceptions. Consequently, East v. Pryor is of little use in this analysis.
     12
26      Critically, Justices Marshall and Brennan recognized the claimants in Java each received post-termination hearings
     during the litigation, and the Java claimants were still entitled to pursue their federal claims. Id., n. 3.
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 1   Blankenship v. Secretary of HEW, 587 F.2d 329, 333 (6th Cir. 1978). Courts that have addressed

 2   mootness in the § 503 context have regularly found that the claims are not moot despite the claims

 3   being resolved through the state’s administrative process. Wilkinson v. Abrams, 627 F.2d 650,

 4   656-57 (3rd Cir. 1980); Kelly v. Lopeman, 680 F. Supp. 1101, 1105 (S.D. Ohio 1987); Wheeler

 5   v. St. of Vt., 335 F. Supp. 856, 860 (D. Vt. 1971).

 6          In this case, Defendant’s violation § 503(a)(1) will likely reoccur and escapes review.

 7   Defendant continues to employ UTAB to issue redeterminations and overpayment assessments.

 8   Defendant permits claimants to challenge the ineligibility and overpayment determinations in a

 9   post-deprivation appeal. Accordingly, it is likely that Defendant will continue to make

10   ineligibility and overpayment assessments without a pre-deprivation fact-finding process and

11   hearing, and that those determinations will be resolved through the administrative process before

12   any court can determine whether UTAB violates § 503(a)(1). Defendant should not be protected

13   from liability merely because Plaintiffs sought to defend themselves from Defendant’s unlawful

14   conduct by appealing the unlawful redeterminations.

15                                        IV.     CONCLUSION

16          Under Rule 12(b)(6), Plaintiffs have alleged sufficient facts to plausibly make out a claim

17   that Defendant’s conduct violated their procedural due process and § 503 rights. Thus, Plaintiffs

18   respectfully ask the Court to deny Defendant’s Motion to Dismiss in its entirety.

19          In the alternative, should this Court find any deficiencies in Plaintiffs’ Amended

20   Complaint, Plaintiffs respectfully request that the Court grant Plaintiffs leave to amend pursuant

21   to Rule 15(b). This case is still in its infancy. The parties have conducted no discovery. Upon

22   further investigation or discovery, Plaintiffs may amend the complaint to (1) add Defendant’s

23   predecessor or other ESD officials as named defendants; (2) include additional allegations about

24   what Defendant and other ESD officials did; and (3) add a named plaintiff who did not

25   successfully appeal a redetermination or overpayment assessment.

26

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                                     CERTIFICATE OF SERVICE
 1

 2          I, Megan Grosse, hereby certify that on July 18, 2022, I electronically filed the foregoing
 3   with the Clerk of the Court using the CM/ECF system which will send notification of such filing
 4   to the following:
 5
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 6
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11                  Attorneys for Defendant

12
            DATED this 18th day of July, 2022.
13

14                                            By: s/ Megan Grosse
                                                  Megan Grosse, Legal Assistant
15

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